    Case: 4:11-cr-00101-DCN Doc #: 458 Filed: 04/17/12 1 of 4. PageID #: 1566




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION



UNITED STATES OF AMERICA,                      )       CASE NO. 4:11 CR 101
                                               )
         Petitioner,                            )
                                               )
               v.                              )       JUDGE DONALD C. NUGENT
                                               )
CARLTON COUNCIL, JR.,                          )       MEMORANDUM OPINION
                                               )       AND ORDER
         Respondent.                           )




       This matter is before the Court on Defendant, Carlton Council, Jr.’s pro se Motion to

Vacate under 28 U.S.C. § 2255. (ECF #414). The Government filed a response in opposition to

Mr. Ballinger’s Motion (#450), and the Court held a hearing on the matter on April 4, 2012.

       Mr. Council initially waived a detention hearing before Magistrate Judge Limbert and

was ordered detained. (ECF #118, 119). Subsequently, Mr. Council filed a motion for

reconsideration, (ECF #326), and a motion for detention hearing (ECF #329). On September 26,

2011, Mr. Council received a full detention hearing before Magistrate Judge George J. Limbert.

Following that initial hearing, Magistrate Judge Limbert found that the Defendant had not

rebutted the presumption against pre-trial release, and that no condition or combination of

conditions would reasonably assure the appearance of the defendant for future proceedings, or

the safety of the community. Further, the Court found that, if released, there is a serious risk

that the defendant will not appear, and that there is a serious risk that the defendant will

endanger the safety of another person or the community. Specifically Magistrate Limbert found
    Case: 4:11-cr-00101-DCN Doc #: 458 Filed: 04/17/12 2 of 4. PageID #: 1567




by clear and convincing evidence that there is no condition or combination of conditions that

will reasonably assure the Defendant’s appearance or the safety of the community as required

and that the factors of 18 U.S.C. § 3142(g) weigh heavily against releasing the Defendant. The

Court found that Mr. Council has no full time job; that he had been shot three times in 2006; that

he has at least four convictions as an adult, two of which involved firearms, and two that were

drug related; that he had prior juvenile convictions and probation violations as a minor; and,

“most importantly” that he failed to show for his sentencing on a carrying a concealed weapon

conviction, had a bench warrant issued, and had two probation violations, with one revocation

on that same conviction. In addition, Mr. Council has a probation violation on a separate drug

possession conviction. (ECF # 335). His history clearly establishes a risk of flight or

nonappearance and a danger to the community. In addition, he is facing a lengthy sentence; and,

the current charges allege that he participated in an enterprise which was involved in numerous

illegal and violent activities, including murder, attempted murder, felonious assault, drug

trafficking, witness intimidation, robbery, firearm trafficking, theft, receiving stolen property,

carjacking, breaking and entering, and burglary.

       The Defendant seeks reconsideration of his detention order through a pro se motion filed

pursuant to 28 U.S.C. § 2255. Because Mr. Council is represented by counsel, this Court is not

required to consider a motion that he has filed pro se. United States v. Johnson, 470 F.3d 1234,

1239 (8th Cir. 2006); United States v. Vampire Nation, 451 F.3d 189, 206 n.17 (3rd Cir. 2006).

Further, a section 2255 motion is not an appropriate vehicle by which to address the

appropriateness of pretrial detention. A federal district court has jurisdiction to entertain a

section 2255 motion only if the Defendant is under a sentence of a federal court. As this case

has not yet been tried, no conviction has been rendered, and no sentence has been imposed, there
    Case: 4:11-cr-00101-DCN Doc #: 458 Filed: 04/17/12 3 of 4. PageID #: 1568




is no remedy available to Mr. Council under 28 U.S.C. § 2255.

        Nonetheless, the Court has reviewed the motion and set a hearing to allow Mr. Council

to present arguments and evidence, through his lawyer, relating to the appropriateness of

detention in this case. Mr. Council presented several argument through his attorney including

the fact that he turned himself in; he believes the evidence against him is weak and certain

accusations are outrageous; that he believes his sentence, if he is convicted, will have been more

than 25% served prior to the start of trial; and that he has passed a urinalysis test. There is no

evidence, however, of any change of circumstance or new evidence that was not available at the

time of his original hearing that would support a reconsideration of his current detention.

       The Court is cognizant that Mr. Council has been in custody for an extended period of

time while this case has been proceeding, however, the trial date is closely approaching and is

currently set for June 6th, 2012. More importantly, however, he has failed to present any new

evidence that would undermine the initial determination that detention is appropriate in this case.

The relative strength of the evidence against him is not an issue that can be determined at this

stage of the proceedings, and the charges remain serious, with the possibility of a lengthy

sentence if he were to be convicted. None of the arguments presented constitutes new evidence

that would alter the analysis performed by Magistrate Limbert, nor is there sufficient evidence to

rebut the presumption against pre-trial release. Nothing presented by the Defendant changes his

history of non-compliance with the terms of release, or his history of prior convictions, or his

previous failure to appear for sentencing. The Court, therefore, finds that there is still no

condition or combination of conditions that would reasonably assure the appearance of the

defendant for future proceedings, or ensure the safety of the community.

       Mr. Council’s Motion for Bond is, therefore, DENIED. IT IS SO ORDERED
   Case: 4:11-cr-00101-DCN Doc #: 458 Filed: 04/17/12 4 of 4. PageID #: 1569




                                                 /s/ Donald C. Nugent
                                                DONALD C. NUGENT
                                                United States District Judge

DATED:   April 17, 2012
